














IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. PD-1365-07





REYMUNDO GONZALEZ, Appellant



v.



THE STATE OF TEXAS






ON APPELLANT'S PETITION FOR DISCRETIONARY REVIEW

FROM THE THIRTEENTH COURT OF APPEALS NUECES COUNTY





Per curiam. Keasler and Hervey, JJ., dissent.


ORDER

	The petition for discretionary review violates Rules of Appellate Procedure 9.1(b),
9.3 and 68.4(i), because the petition is unsigned, is not accompanied by 11 copies and it
does not contain a copy of the opinion of the court of appeals.

	The petition is struck.  See Rule of Appellate Procedure 68.6.

	The petitioner may redraw the petition.  The redrawn petition must be filed in the
COURT OF CRIMINAL APPEALS within thirty days after the date of this order.

En banc

Filed: January 16, 2008

Do Not Publish


